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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JANE DOE,                       :
                      Plaintiff :                 No. 1:20-CV-1416
                                :
             v.                 :                 Judge Jones
                                :
SHIPPENSBURG UNIVERSITY OF      :                 Electronically Filed Document
PENNSYLVANIA,                   :
                    Defendant :                   Complaint Filed 08/11/20

                  ANSWER WITH AFFIRMATIVE DEFENSES

      Defendant, Shippensburg University of Pennsylvania, through counsel, hereby

responds to the Complaint as follows:

                           JURISDICTION AND VENUE

      1.      Denied. This paragraph contains a legal conclusion to which no

responsive pleading is required. To the extent this paragraph is deemed to contain

factual averments, the averments are denied.

      2.      Denied. This paragraph contains a legal conclusion to which no

responsive pleading is required. To the extent this paragraph is deemed to contain

factual averments, the averments are denied.

                                       PARTIES

      3.      Admitted in part, denied in part. It is admitted that Plaintiff is an adult

female. The remainder of this paragraph is denied. After a reasonable investigation,
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Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      4.      Admitted.

      5.      Denied. This paragraph contains a legal conclusion to which no

responsive pleading is required. To the extent this paragraph is deemed to contain

factual averments, the averments are denied.

                             FACTUAL BACKGROUND

      6.      Admitted.

      7.      Admitted.

      8.      Admitted in part, denied in part. It is admitted that Plaintiff was offered a

graduate assistant position and was paid an hourly wage. The remainder of the

paragraph is denied. By way of further response, it is denied that the details listed

accurately reflect the entire agreement between the parties for the graduate assistant

position in Fall 2018. Furthermore, the graduate assistant position process was

separate from the admission process for the Master’s Degree program, and Plaintiff

was provided a tuition waiver, not a tuition reimbursement.

      9.      Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient knowledge or information to ascertain what Plaintiff

intends by “excellent” and “was very quickly promoted.” Therefore, it is denied.




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      10.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient knowledge or information to ascertain what Plaintiff

intends by “at all times material hereto.” Therefore, it is denied.

      11.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      12.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      13.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      14.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      15.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.




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      16.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      17.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      18.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      19.    Admitted in part, denied in part. It is admitted that Plaintiff and Dr. Roe

both traveled on a trip. The remainder of this paragraph is denied. By way of further

response, after a reasonable investigation, Defendant is without sufficient information

or knowledge to confirm the remaining contents of this paragraph. Therefore, it is

denied.

      20.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      21.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.



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      22.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      23.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      24.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      25.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      26.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      27.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      28.    Admitted in part, denied in part. It is admitted that Plaintiff and “Dr.

Roe” attended a work-related conference in New Orleans, Louisiana. By way of



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further response, after a reasonable investigation, Defendant is without sufficient

information or knowledge to confirm the remaining contents of this paragraph.

Therefore, it is denied.

      29.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      30.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      31.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      32.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      33.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.




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      34.    Denied. After a reasonable investigation, Defendant is without sufficient

information or knowledge to confirm the contents of this paragraph. Therefore, it is

denied.

      35.    Admitted in part, denied in part. It is admitted that Plaintiff requested to

work from home. The remainder of this paragraph is denied. By way of further

response, this request was made by email, which as a written document, speaks for

itself. Therefore, Plaintiff’s characterization thereto is denied.

      36.    Admitted in part, denied in part. It is admitted that Plaintiff returned to

work. The remainder of this paragraph is denied. By way of further response, after a

reasonable investigation, Defendant is without sufficient information or knowledge to

confirm the remaining contents of this paragraph. Therefore, it is denied.

      37.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      38.    Denied as stated. On or about August 21, 2019, Plaintiff was called into

a meeting with the Defendant’s Associate Vice President of Human Resources and

the Dean to discuss accusation that she had engaged in unprofessional behavior

during the trip to New Orleans.

      39.    Denied.




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      40.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      41.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      42.    Admitted in part, denied in part. It is admitted that Plaintiff was told that

the Defendant was going to end her employment. The remainder of this paragraph is

denied. By way of further response, the Associate Vice President of Human

Resources had told Plaintiff this.

      43.    Admitted in part, denied in part. It is admitted that Plaintiff never

returned to the workplace and she received her last paycheck from Defendant on or

about October 18, 2019. The remainder of this paragraph is denied. By way of further

response, after a reasonable investigation, Defendant is without sufficient information

or knowledge to confirm the remaining contents of this paragraph. Therefore, it is

denied.

      44.    Admitted in part, denied in part. It is admitted that Plaintiff was directed

to submit a complaint to the Title IX Coordinator. The remainder of this paragraph is

denied.




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      45.    Admitted in part, denied in part. It is admitted that Plaintiff made a

complaint to the Title IX Coordinator. The remainder of this paragraph is denied. By

way of further response, this paragraph refers to written documents, which speak for

themselves. Therefore, any characterization thereto by Plaintiff is denied.

      46.    Admitted in part, denied in part. It is admitted that Plaintiff produced

documentation to the Title IX Coordinator. The remainder of this paragraph is denied.

By way of further response, this paragraph refers to written documents, which speak

for themselves. Therefore, any characterization thereto by Plaintiff is denied.

      47.    Admitted in part, denied in part. It is admitted that “Dr. Roe” was placed

on leave. The remainder of this paragraph is denied. By way of further response, Dr.

Roe was a contractual employee, and her contract expired without being renewed.

      48.    Denied. By way of further response, after a reasonable investigation,

Defendant is without sufficient information or knowledge to confirm the contents of

this paragraph. Therefore, it is denied.

      49.    Denied.

      50.    Denied.

                                        COUNT I
                             VIOLATION OF TITLE IX
                    QUID PRO QUO SEXUAL HARASSMENT
      51.    The responses to previous Paragraph 1 through 50 are incorporated

herein as though set forth at length.


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      52.     Denied.

      53.     Denied.

      54.     Denied.

      55.     Denied.

      56.     Denied.

      57.     Denied.

      58.     Denied.

      59.     Denied.

      60.     Denied.

                                        COUNT II
            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                        PENNSYLVANIA COMMON LAW
                             RESPONDEAT SUPERIOR
      61.     The responses to previous Paragraph 1 through 60 are incorporated

herein as though set forth at length.

      62.     Denied.

      63.     Denied.

      64.     Denied.

      65.     Denied.

      66.     Denied.

      67.     Denied.



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                                        COUNT III
                           NEGLIGENT SUPERVISION
                        PENNSYLVANIA COMMON LAW
      68.    The responses to previous Paragraph 1 through 67 are incorporated

herein as though set forth at length.

      69.    Denied.

      70.    Denied.

      71.    Denied.

      72.    Denied.

      73.    Denied.

      74.    Denied.

      WHEREFORE, Plaintiff is not entitled to any relief, and judgment should be

entered in favor of Defendant.

                            AFFIRMATIVE DEFENSES

                         FIRST AFFIRMATIVE DEFENSE
      Plaintiff fails to state any claim upon which relief may be granted, either in

whole or part.

                       SECOND AFFIRMATIVE DEFENSE
      If the Defendant violated any rights of the Plaintiff, which is specifically

denied, such violations were not arbitrary, willful, intentional, malicious, wanton or

reckless.



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                        THIRD AFFIRMATIVE DEFENSE
      Defendant acted at all times with the good-faith belief that its conduct was

lawful, thus it is immune from liability by virtue of absolute, qualified, official,

governmental, state, sovereign or any other immunity.

                       FOURTH AFFIRMATIVE DEFENSE

      Prior to filing the current action, Plaintiff failed to properly exhaust the

appropriate administrative remedies made available to her, either in whole or part,

and therefore Plaintiff is not entitled to any relief requested in the current complaint.

                         FIFTH AFFIRMATIVE DEFENSE
      Parts or all of Plaintiff’s action are barred by the applicable Statute of

Limitations.

                         SIXTH AFFIRMATIVE DEFENSE

      At no time has Defendant, either individually or in concert with others,

deprived or sought to deprive Plaintiff of any rights, privileges or immunities secured

to her by the Constitution or laws of the United States or this Commonwealth.

                      SEVENTH AFFIRMATIVE DEFENSE
      Any actions taken by the Defendant were justified, privileged, and reasonable.

                       EIGHTH AFFIRMATIVE DEFENSE

      The current complaint makes claims for damages or types of relief, some or all

of which are not or may not be legally cognizable or compensable under the laws of

the United States or this Commonwealth.


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                        NINTH AFFIRMATIVE DEFENSE
      To the extent Plaintiff’s claims are based upon a theory of vicarious liability, it

is unavailable.

                        TENTH AFFIRMATIVE DEFENSE

      The Court lacks subject matter jurisdiction over some or all of Plaintiff’s

claims by virtue of the Eleventh Amendment, the laws of the Commonwealth of

Pennsylvania, or other law.

      Defendant reserves the right to assert additional Affirmative Defenses, as

appropriate, as this case moves forward.

      WHEREFORE, Defendant respectfully requests that this Honorable Court

dismiss Plaintiff’s action, with prejudice, and enter judgment in its favor.



                                                Respectfully submitted,

                                                JOSH SHAPIRO
                                                Attorney General

                                        By:    s/ Lindsey A. Bedell
                                              LINDSEY A. BEDELL
Office of Attorney General                    Deputy Attorney General
15th Floor, Strawberry Square                 Attorney ID #308158
Harrisburg, PA 17120
Phone: (717) 772-3561                         KAREN M. ROMANO
                                              Chief Deputy Attorney General
lbedell@attorneygeneral.gov                   Civil Litigation Section

Date: September 8, 2020                       Counsel for Defendant Shippensburg
                                              University of Pennsylvania


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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JANE DOE,                       :
                      Plaintiff :              No. 1:20-CV-1416
                                :
             v.                 :              Judge Jones
                                :
SHIPPENSBURG UNIVERSITY OF      :              Electronically Filed Document
PENNSYLVANIA,                   :
                    Defendant :                Complaint Filed 08/11/20

                        CERTIFICATE OF SERVICE

      I, Lindsey Bedell, Deputy Attorney General for the Commonwealth of

Pennsylvania, Office of Attorney General, hereby certify that on September 8,

2020, I caused to be served a true and correct copy of the foregoing document

titled Answer with Affirmative Defenses to the following:

VIA ECF

Samuel Dion, Esquire
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samueldion@aol.com
Counsel for Plaintiff

                                             s/ Lindsey A. Bedell
                                            LINDSEY A. BEDELL
                                            Deputy Attorney General
